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                                       UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                           219 SOUTH DEARBORN STREET
                                              CHICAGO, ILLINOIS 60604
      Thomas G. Bruton
           CLERK




                                                  October 13, 2016




RE: Windsor et al v. United Parcel Service et al
Case No: 15-cv-11119


Dear Clerk:

Pursuant to the order entered by Honorable Andrea R. Wood, on 9/28/2016, the above record


#        was electronically transmitted to: United States District Court for the Northern District of Indiana




                                                        Sincerely yours,


                                                        Thomas G. Bruton, Clerk

                                                        By:    /s/ Jessica J. Ramos
                                                               Deputy Clerk


Enclosures



New Case No. ____________________________                  Date _____________________


cc:      Non-ECF Attorneys and Pro se Parties
